Case 4:21-cv-01310-O-BP Document 325 Filed 01/31/23   Page 1 of 9 PageID 7690



                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
                           FORT WORTH DIVISION

 UNITED STATES SECURITIES              §
 AND EXCHANGE COMMISSION,              §
                                       §
            Plaintiff,                 §
                                       §
                     v.                §
                                       §
 THE HEARTLAND GROUP VENTURES, LLC;    §
 HEARTLAND PRODUCTION AND RECOVERY §
 LLC; HEARTLAND PRODUCTION AND         §
 RECOVERY FUND LLC; HEARTLAND          §
 PRODUCTION AND RECOVERY FUND II LLC; §
 THE HEARTLAND GROUP FUND III, LLC;    §
 HEARTLAND DRILLING FUND I, LP; CARSON §
 OIL FIELD DEVELOPMENT FUND II, LP;    §
 ALTERNATIVE OFFICE SOLUTIONS, LLC;    §
 ARCOOIL CORP.; BARRON PETROLEUM       §
 LLC; JAMES IKEY; JOHN MURATORE;       §
 THOMAS BRAD PEARSEY; MANJIT SINGH     §         No. 4-21CV-1310-O-BP
 (AKA ROGER) SAHOTA; and RUSTIN        §
 BRUNSON,                              §
                                       §
            Defendants,                §
                                       §
                                       §
                     and               §
                                       §
 DODSON PRAIRIE OIL & GAS LLC; PANTHER §
 CITY ENERGY LLC; MURATORE FINANCIAL §
 SERVICES, INC.; BRIDY IKEY; ENCYPHER  §
 BASTION, LLC; IGROUP ENTERPRISES LLC; §
 HARPRIT SAHOTA; MONROSE SAHOTA;       §
 SUNNY SAHOTA; BARRON ENERGY           §
 CORPORATION; DALLAS RESOURCES INC.;   §
 LEADING EDGE ENERGY, LLC; SAHOTA      §
 CAPITAL LLC; and 1178137 B.C. LTD.,   §
                                       §
            Relief Defendants.         §
                                       §
                                       §


4873-2619-3998.1                     1
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NOTICE OF FILING PUBLISHER’S AFFIDAVIT OF JACKSBORO HERALD-GAZETTE

PLEASE TAKE NOTICE OF THE FOLLOWING MATTER:

         Deborah D. Williamson, in her capacity as the Court-appointed Receiver (the “Receiver”)

for the Receivership Parties (as defined in the Receivership Order) and the receivership estates

(collectively, the “Receivership Estates”) in the above-captioned case (the “Case”), hereby files

this Notice of Filing Publisher’s Affidavit of Jacksboro Herald-Gazette (the “Notice”). Attached

to this Notice as Exhibit A is a copy of the Publisher’s Affidavit of Jacksboro Herald-Gazette.

Dated: January 31, 2023                             Respectfully submitted,

                                                    By: /s/ Danielle Rushing Behrends
                                                       Danielle Rushing Behrends
                                                       State Bar No. 24086961
                                                       dbehrends@dykema.com
                                                       DYKEMA GOSSETT PLLC
                                                       112 East Pecan Street, Suite 1800
                                                       San Antonio, Texas 78205
                                                       Telephone: (210) 554-5500
                                                       Facsimile: (210) 226-8395

                                                        and

                                                        Rose L. Romero
                                                        State Bar No. 17224700
                                                        Rose.Romero@RomeroKozub.com
                                                        LAW OFFICES OF ROMERO | KOZUB
                                                        235 N.E. Loop 820, Suite 310
                                                        Hurst, Texas 76053
                                                        Telephone: (682) 267-1351

                                                        COUNSEL TO RECEIVER




4873-2619-3998.1                                2
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on January 31, 2023, the foregoing document was served via CM/ECF
on all parties appearing in this case and on the following unrepresented parties on this Court’s
docket and interested person via email:

         James Ikey
         james.ikeyrcg@gmail.com

         Bridy Ikey
         bridydikey@gmail.com

         IGroup Enterprises LLC
         c/o James Ikey
         james.ikeyrcg@gmail.com

         John Muratore
         c/o Theodore Grannatt
         McCarter & English, LLP
         tgrannatt@mccarter.com

         Muratore Financial Services, Inc.
         c/o Theodore Grannatt
         McCarter & English, LLP
         tgrannatt@mccarter.com

         Thomas Brad Pearsey
         c/o Theodore Grannatt
         McCarter & English, LLP
         tgrannatt@mccarter.com

         Manjit Singh (aka Roger) Sahota
         Harprit Sahota
         Monrose Sahota
         rogersahota207@gmail.com

         Sunny Sahota
         sunnysanangelo@gmail.com


                                                   /s/ Danielle Rushing Behrends
                                                   Danielle Rushing Behrends




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                                EXHIBIT A




4883-6058-4201.1
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    Affidavit of Publication

    STATE CF TEXAS

    COUNTY OF JACK

    Before me, the undersigned authority, on this day personally appeared

                         Kylie Bailey                             , the                Publisher               of the
                           (Name)                                                       (Title)

                 Jacksboro Herald-Gazette                                 , a newspaper having general circulation in
                    (Name of Newspaper)

                        Jack                        County, Texas, who being by me duly sworn, deposes and

    says that the foregoing attached notice was published in said newspaper on the following

    date(s), te wit: Foes                              me Qo, Al              aco        lewnboer     mi HOR ox

       ae Epil
    Sigitature

    Subscribed and sworn to before me this the                                       day of


    Seg     le mloe                      , 02k            , to certify which witness my hand and seal of office.




  ALNotary Public in and for the State of Texas




                    VP
                 aes “Ye,           Krystin Diane Stell
                   2           “©   My Commission   Expires
                   &.          JAX. 02/22/2023
                   We     pene      ID No. 131903993
                                   Case 4:21-cv-01310-O-BP Document 325 Filed 01/31/23                                       Page 6 of 9 PageID 7695
Wednesday, August 17, 2022                                                              www.jacksboronewspapers.com                                   Jacksboro Herald-Gazette • Page 9




                                                                                                              E NTERTAINMENT
800   PUBLIC/LEGAL NOTICES
NOTICE OF PROPOSED                energ ynet. com/page/                   administered are required                                                                         Midweek
PUB LIC AUCTION OF                heartlandreceivership.                  to present them to the                                                                             Edition
CERTAIN OIL AND GAS               Inquiries to EnergyNet                  undersigned within the
ASSETS                            can be directed to                      time and in the manner              OUT ON A LIMB by Gary Kopervas
Deborah D. Williamson,            1 - 8 7 7- 3 5 1 - 4 4 8 8 o r          prescribed by law:
the Cour t-appointed              energy@energynet.com.                   Reid Spiller, Esq.
Receiver in TXND Case             NOTICE TO ALL PERSONS                   Spiller & Spiller
No. 4-21cv-1310 -O-BP,            HAVING CL AIMS                          P. O. Drawer 447
has received cour t               AGAINST THE ESTATE OF                   122 E. Belknap Street
approval for an auction of        RUTHIE MARIE BIVINS,                    Jacksboro, Texas 76458
certain oil and gas assets        DECEASED                                Dated August 10, 2022.
owned by the receivership         Notice is hereby given                  SPILLER & SPILLER
estates                           that original Let ters                  By: /s/ Reid Spiller
AS IS – WHERE IS                  Test ament ar y for the                 Reid Spiller
through EnergyNet.com,            Estate of Ruthie Marie                  A t t o r n e y      f o r
LLC (“EnergyNet”).                Bivins, Deceased, were                  Representatives of the              AMBER WAVES by Dave T. Phipps
Jack and Young Counties           issued on August 10,                    Estate
– EnergyNet Lot # 95866           2 0 2 2, i n C a u s e N o.             NOTICE TO ALL PERSONS
Palo Pinto County –               PR5770, pending in the                  HAVING CL AIMS
EnergyNet Lot # 96641             Count y Cour t of Jack                  AGAINST THE ESTATE OF
Palo Pinto and Stephens           County, Texas, to Connie                SANDRA LOU SHAWVER,
Counties – EnergyNet Lot          Bivins Ogle and Donna                   DECEASED
# 96657                           Lynn Bivins McDaniel.                   Notice is hereby given
Potent ial p ur c has er s        All persons having claims               that original Let ters
can review the                    against this estate                     Test ament ar y for the
above-referenced                  which is currently being                Estate of Sandra Lou
lo t s a t h t t p s: //w w w.                                            Shawver, Deceased, were
                                                                          issued on April 14, 2022,           THE SPATS by Jeff Pickering
                                                                          in Cause No. PR5754,

       Support these                                                      pending in the County
                                                                          Cour t of Jack County,
                                                                          Texas, to Ted Lewis.
                                                                          All persons having claims
      local businesses!                                                   against this estate
                                                                          which is currently being
   The advertisers you see in this publication                            administered are required
                                                                          to present them to the
  are who make it possible for us to bring the                            undersigned within the
                 news to you.                                             time and in the manner
                                                                          prescribed by law:                  R.F.D. by Mike Marland
  The Jacksboro Herald-Gazette appreciates                                Mason Spiller, Esq.
                                                                          Spiller & Spiller
  their support and we encourage our readers                              P. O. Drawer 447
    to support them. These small businesses                               122 E. Belknap Street
   recognize the value of their customers and                             Jacksboro, Texas 76458
                                                                          Dated August 12, 2022.
            work hard to show you.                                        SPILLER & SPILLER
                                                                          By: /s/ Mason Spiller
   Supporting these local businesses supports                             Mason Spiller
     your community and your community                                    A t t o r n e y s    f o r
                                                                          Representative of the
                 news source.                                             Estate




          ow
        Sh ll
         & Se
                           To Place Your Ad:
                                      940-567-2616
                    ads@jacksboronewspapers.com
                    Run Your Show & Sell Ad*
                           for as Little as $14.95!
                             *Show & Sell pricing not available for real property ads (homes, mobile homes,
                                      etc.). Up to 20 words, 50¢ per additional word. Only one item per ad.
                                                                                                                                       Crossword
                                                                Browse
                                                                & Buy

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            Jacksboro Herald-Gazette Classifieds
             make it easy to connect with local buyers
                 and sellers - in print and online!

                     Jacksboro Herald-Gazette
                        CLASSIFIEDS
       WWW.JACKSBORONEWSPAPERS.COM • 940-567-2616                                                                                 Look for answers in the Classifieds.
                                                Case 4:21-cv-01310-O-BP Document 325 Filed 01/31/23                                                                                    Page 7 of 9 PageID 7696
Wednesday, August 24, 2022                                                                                            www.jacksboronewspapers.com                                                                                     Jacksboro Herald-Gazette • Page 7


                                                                                                                                                                                Place Your Classified Ad Today

CLASSIFIEDS          www.jacksboronewspapers.com/classifieds
                                                                                                                                                                                    940-567-2616
                                                                                                                                                                              • Up to 15 words: $10 • 50¢ per word over 15 • Minimum charge: $10
                                                                                      Every housing advertisement published in the Jacksboro Herald-Gazette is subject to all provisions of the Federal Fair Housing Act.
                                                                      EQUAL HOUSING
                                                                      OPPORTUNITY




 BUY • SELL                                    Classified Line Ad Deadline is 9 a.m. Monday for Jacksboro Herald-Gazette                                                                                                                             TRADE • RENT
510    HELP WANTED                                                                                      600   AUCTIONS                                                                               700               FOR RENT - APARTMENTS

      Cemco, Inc is now hiring:
          FINAL ASSEMBLY
             WELDERS
                                                                                                                                                                                                                       Bent Tree
                                                                                                                                                                                                                            Apartments
                                                                                                                                                                                                       Energy Efficient • Central Heat & Air • Off-Street Parking
                                                                                                                                                                                                            Gas and Water Paid • Full-Equipped Laundry
         PAINT/SAND BLAST                                                                                                                                                                                                       ONE & TWO BEDROOMS
  Competitive pay rates, plus benefits.                                                                                            Consignment                                                                         Rent based on Income for Qualified Applicants
                                                                                                                                                                                                                         323 N. 9th Street – Jacksboro, TX 76458
                                                                                                                                     Auction                                                                               940-567-5316 – TDD 800-760-1997
                                                                                                                                                                                                                          This institution is an equal opportunity provider and employer.
                                                                                                                                    Thursday,
                                                                                                                                                                                                       EQUAL HOUSING
                                                                                                                                                                                                       OPPORTUNITY
                                                                                                                                                                                                                                                                                            9203




                                                                                                                                      Sept. 1
                 APPLY AT
      782 Hwy. 251 S • Olney, TX 76374                                                                            bid.uselevel.com
                                                                                                                                   at 9:30 a.m.                                                                        Mesquite Trails
                                                                                                                                                                                                                        Apartments
                                                                                                23407




              940-564-5855                                                                                              • Lowest Commission Around
                                                                                                                          • We’ll Haul Your Equipment
                                                                                                                        • We Now Do On-Site Auctions
  MTC  JOHN R. LINDSEY STATE JAIL
                                                                                                                       Let US Conduct Your Farm Auction.
        IS NOW HIRING:                                                                                        All Our Auctions Are Broadcast Live On The Internet
                                                                                                                                                                                                                        RENTAL ASSISTANCE AVAILABLE
            Correctional Oﬃcers                                                                                             At NO CHARGE To YOU.
      Assistant Foodservice Manager
                                                                                                                                                                                                              1, 2 or 3 Bedrooms • Rent Based on Income
          Assistant Maintenance
                                                                                                                                                                                                                      Laundry Room • Playground
          Supervisor – Lock Tech                                                                                                                                                                                          Maintenance On-Site
                Testing Clerk                                                                                         19842 US Hwy 277 E • Seymour, Texas                                                              119 S. 5th St. • Jacksboro, TX 76458




                                                                                                                                                                                                                                                                                             11234
                                                                                                                   940-888-3437 • www.montgomerytractor.com
            Recruiting Sergeant                                                                                                  Mark Montgomery - TX 10053                                                              940-567-3304 • 940-683-2450
                                                                                                         23448                                                                             13
                  Chaplain                                                                                                                                                                               EQUAL HOUSING    This institution is an equal opportunity provider/employer.
                                                                                                                                                                                                         OPPORTUNITY


            Education Counselor
      • Beginning June 9, starting pay is               BIONIC
      $18/hour for Correctional Oﬃcers, with     A Culture of Caring                                                                                  800   PUBLIC/LEGAL NOTICES
      incremental pay increases.
      • 4 weeks of paid training. 6am-6pm Mon. – Fri. (instant overtime).                                                                             INVITATION TO BID                              Code; the Commissioner’s                              have a notarized ethics
      • In addition to a comprehensive beneﬁts package, MTC oﬀers tuition                                                                             Bids will be received in the                   court reserves the right                              st atement submit ted
        reimbursement for college courses.                                                                                                            County Auditor’s Office                        to award a contract to                                to the County. Here is
                                                                                                                                                      of Jack County, Texas                          a qualified local bidder                              the link to the website
       Please check the web site for job qualiﬁcations.                                                                                               until 9:00 a.m., Monday,                       within three percent of                               with the video explaining
 Must have HS Diploma or equivalent, be able to pass a drug screen, have a clean                                                                      September 12, 2022, for                        the lowest bid.                                       how to do this: https://
 background, and valid driver’s license to be considered for a Correctional Oﬃcer.                                                                    the purchase of various                        All bids must be                                      www.ethics.state.tx.us/
  Apply online at www.mtctrains.com or call the HR dept. at 940-567-2272.                                                                             goods and services for                         accompanied by a                                      whatsnew/elf_info_for-
           Management & Training Corporation is an Equal Opportunity Employer:                                                                        Jack County.                                   completed Bid Form that                               m1295.htm.
                                                                                               19529




                          Minority/Female/Disability/Veteran                                                                                          The types of goods and                         may be obtained through                               Please submit your
                                                                                                                                                      services to be purchased                       the office of the County                              completed and notarized
                                                                                                                                                      are:                                           Auditor.                                              form with your bid packet.
                                                                                                                                                      Crushed Rock and                               Lisa Perry                                            B y : /s / B r i a n K e i t h
                                                                                                                                                      Road Building Materials                        Auditor - Jack County                                 Umphress
                                                                                                                                                      for use by the County                          LEGAL NOTICE                                          Jack County Judge
                                                                                                                                                      Commissioners’                                 By order of the                                       NOTICE OF PROPOSED
                                                                                                                                                      D ep a r t m e n t s f o r t h e               Commissioners’ Cour t                                 PUB LIC AUCTION OF
                                                                                                                                                      C o u n t y F i s c a l Ye a r                 of Jack County, Texas,                                CERTAIN OIL AND GAS
                                                                                                                                                      2022-2023 (October 1,                          the County Auditor will                               ASSETS
                                                                                                                                                      2022, to September 30,                         receive sealed bids until                             Deborah D. Williamson,
                                                                                                                                                      2023);                                         9 : 0 0 A . M ., M o n d ay,                          the Cour t-appointed
                                                                                                                                                      Bidders should use unit                        September 12, 2022,                                   Receiver in TXND Case
                                                                                                                                                      pricing in submitting their                    for competitive bids on                               No. 4-21cv-1310 -O-BP,
                                                                                                                                                      bids. Invoices delivered                       G a s o li n e a n d D i e s e l                      has received cour t
                                                                                                                                                      for payment will generally                     Fuel to be used by Jack                               approval for an auction of
                                                                                                                                                      be paid by the second                          County until September                                certain oil and gas assets
                                                                                                                                                      Monday of the month                            3 0, 2023. Fu n ds fo r                               owned by the receivership
                                                                                                                                                      following receipt. No bond                     payment have been                                     estates
                                                                                                                                                      shall be required of the                       provided through the Jack                             AS IS – WHERE IS
                                                                                                                                                      bidder.                                        County budget approved                                through EnergyNet.com,
                                                                                                                                                      The bids will be opened on                     by the Commissioners’                                 LLC (“EnergyNet”).
                                                                                                                                                      Monday, September 12,                          Court for the fiscal year.                            Jack and Young Counties
                                                                                                                                                      2022, at 9:05 a.m., by                         Bidders must use lump                                 – EnergyNet Lot # 95866
                                                                                                                                                      the County Auditor in the                      sum pricing. Complete                                 Palo Pinto County –
                                                                                                                                                      County Courtroom on the                        bid specifications and                                EnergyNet Lot # 96641
                                                                                                                                                      second floor of the County                     bid forms are available at                            Palo Pinto and Stephens
                                                                                                                                                      Courthouse in Jacksboro,                       the Jack County Auditor’s                             Counties – EnergyNet Lot
                                                                                                                                                      Texas and awarded in the                       Office or on Jack County’s                            # 96657
                                                                                                                                                      Commissioners Court’s                          website: www.jackcounty.                              Potent ial p ur c has er s
                                                                                                                                                      business of the same day                       org. Sealed bids must be                              can review the
                                                                                                                                                      and location at 10 a.m.                        addressed to Jack County                              above-referenced
                                                                                                                                                      Detailed specifications                        Auditor’s O f f ice, 10 0                             lo t s a t h t t p s: //w w w.
                                                                                                                                                      may be obtained by                             N. Main St., Ste. 202;                                energ ynet. com/page/
                                                                                                                                                      contacting:                                    Jacksboro, Texas 76458.                               heartlandreceivership.
                                                                                                                                                      Lisa Perry                                     No electronic bids will be                            Inquiries to EnergyNet
                                                                                                                                                      Auditor - Jack County                          accepted. Sealed bids                                 can be directed to
                                                                                                                                                      100 N. Main St. Ste 202                        must be in the office of                              1 - 8 7 7- 3 5 1 - 4 4 8 8 o r
                                                                                                                                                      Jacksboro, Texas 76458                         the County Auditor on                                 energy@energynet.com.
                                                                                                                                                      Voice: (940) 567-2663                          or before 9:00 a.m. on                                The Jacksboro
                                                                                                                                                      Fax: (940) 567-5978                            Monday, September 12,                                 Independent School
                                                                                                                                                      Bids should be submitted                       2022, in an envelope                                  District will accept
                                                                                                                                                      in a sealed envelope                           marked “Bid No. FY22/23                               sealed p rop os als for
                                                                                                                                                      with the proper title                          - Bulk Fuel”. Bids will                               Kitchen Equipment at
                                                                                                                                                      on the outside of the                          be opened in the Jack                                 the Jacksboro ISD
                                                                                                                                                      bid envelope. Bidders                          County Commissioners                                  Administration Of fice,
                                                                                                                                                      must also comply with                          Cour troom located at                                 75 0 W B elk nap S t,
                                                                                                                                                      the requirements of                            100 N. Main St., Ste.                                 Jacksboro, TX 76458.
                                                                                                                                                      Section 2252.908, Texas                        207; Jacksboro, Texas,                                Submittals will be
                                                                                                                                                      Government Code before                         76 4 5 8 , o n M o n d a y,                           accepted until Tuesday,
                                                                                                                                                      submitting their bids, and                     September 12, 2022 at                                 Sept. 6, 2022 at 11:00
                                                                                                                                                      offer proof of the same in                     9:05 a.m. and acted on                                a.m. Bid documents can
                                                                                                                                                      their bid to be considered.                    in the course of business                             be obtained by calling
                                                                                                                                                      Bidders are encouraged                         by the Court on that day                              (9 4 0) 5 67-72 0 3 ex t .
                                                                                                                                                      to be present at the bid                       beginning at 10:00 a.m.                               277 or on the Jacksboro
                                                                                                                                                      opening to defend and                          Jack County reserves the                              IS D w e b si te, w w w.
                                                                                                                                                      answer questions about                         right to reject any or all                            jacksboroisd.net. The
                                                                                                                                                      their bid.                                     bids.                                                 district reserves the right
                                                                                                                                                      Jack County reserves the                       Section 2252.908,                                     to reject any and all bids.
                                                                                                                                                      right to accept and/or                         Government Code
                                                                                                                                                      reject any or all bids.                        requires contracts
                                                                                                                                                      Under Section 271.905,                         that are approved by
                                                                                                                                                      Texas Local Government                         Commissioner’s Court to


                                                                                                                                                          Errors & Adjustments: Customers who place advertisements
                                                                                                                                                          in the Jacksboro Herald-Gazette should check them for accuracy
                                                                                                                                                          the first time it appears in the newspaper. Any errors or omissions
                                                                                                                                                          must be reported to Jacksboro Herald-Gazette at (940) 567-2616
                                                                                                                                                          within 24 hours after the ad’s first publication. The newspaper
                                                                                                                                           23384          office must limit its financial responsibilities, if any, to the charge
                                                                                                                                                          for space and cannot be responsible for incorrect ads after the
  CHECK US OUT ONLINE • JACKSBORONEWSPAPERS.COM                                                                                                           first day of publication.
                                                           Case 4:21-cv-01310-O-BP Document 325 Filed 01/31/23                                                                                   Page 8 of 9 PageID 7697
Wednesday, August 31, 2022                                                                                                                  www.jacksboronewspapers.com                                                   Jacksboro Herald-Gazette • Page 7




                                                                                                                                                                                  E NTERTAINMENT
800   PUBLIC/LEGAL NOTICES
LEGAL NOTICE                                              requires contracts                                           Judicial District Court, will                                                                                            Midweek
By order of the                                           that are approved by                                         conduct a public hearing                                                                                                  Edition
Commissioners’ Cour t                                     Commissioner’s Court to                                      at 1:00 pm on Friday,
of Jack County, Texas,                                    have a notarized ethics                                      September 16, 2022, at                                     OUT ON A LIMB by Gary Kopervas
the County Auditor will                                   st atement submit ted                                        100 N Main St , District
receive sealed bids until                                 to the County. Here is                                       Courtroom, Jacksboro,
9 : 0 0 A . M ., M o n d ay,                              the link to the website                                      Texas, to set the annual
September 12, 2022,                                       with the video explaining                                    compensation for the
for competitive bids on                                   how to do this: https://                                     Jack County Auditor and
G a s o li n e a n d D i e s e l                          www.ethics.state.tx.us/                                      Assistants.
Fuel to be used by Jack                                   whatsnew/elf_info_for-                                       PUBLIC NOTICE
County until September                                    m1295.htm.                                                   The Jack County
3 0, 2023. Fu n ds fo r                                   Please submit your                                           Commissioners’ Cour t
payment have been                                         completed and notarized                                      will conduc t a public
provided through the Jack                                 form with your bid packet.                                   hearing to consider
County budget approved                                    B y : /s / B r i a n K e i t h                               a plan for the County
                                                                                                                                                                                  AMBER WAVES by Dave T. Phipps
by the Commissioners’                                     Umphress                                                     C l e r k ’s P r e s e r v a t i o n
Court for the fiscal year.                                Jack County Judge                                            and Restoration Plan,
Bidders must use lump                                     NOTICE OF PROPOSED                                           to fund, Gov t. Code
sum pricing. Complete                                     PUB LIC AUCTION OF                                           Section 118.025, for
bid specifications and                                    CERTAIN OIL AND GAS                                          the preser vation and
bid forms are available at                                ASSETS                                                       restoration of the County
the Jack County Auditor’s                                 Deborah D. Williamson,                                       C l e r k ’s r e c o r d s. T h e
Office or on Jack County’s                                the Cour t- appointed                                        meeting will be held on
website: www.jackcounty.                                  Receiver in TXND Case                                        September 26, 2022 at
org. Sealed bids must be                                  N o. 4 -21c v -1310 - O -                                    9:00 a.m. in the County
addressed to Jack County                                  BP, has received court                                       Cour troom, Room 207
Auditor’s O f f ice, 10 0                                 approval for an auction of                                   of the Jack County                                         THE SPATS by Jeff Pickering
N. Main St., Ste. 202;                                    certain oil and gas assets                                   Courthouse, 100 N. Main
Jacksboro, Texas 76458.                                   owned by the receivership                                    St., Jacksboro, Texas.
No electronic bids will be                                estates                                                      B y : /s / B r i a n K e i t h
accepted. Sealed bids                                     AS IS – WHERE IS                                             Umphress
must be in the office of                                  through EnergyNet.com,                                       Count y Judge of Jack
the County Auditor on                                     LLC (“EnergyNet”).                                           County, Texas
or before 9:00 a.m. on                                    Jack and Young Counties
Monday, September 12,                                                                                                  The Jacksboro
                                                          – EnergyNet Lot # 95866                                      Independent School
2022, in an envelope                                      Palo Pinto County –
marked “Bid No. FY22/23                                                                                                District will accept
                                                          EnergyNet Lot # 96641                                        sealed p rop os als for
- Bulk Fuel”. Bids will                                   Palo Pinto and Stephens
be opened in the Jack                                                                                                  Kitchen Equipment at
                                                          Counties – EnergyNet Lot                                     the Jacksboro ISD                                          R.F.D. by Mike Marland
County Commissioners                                      # 96657
Cour troom located at                                                                                                  Administration Of fice,
                                                          Potent ial p ur c has er s                                   75 0 W B elk nap S t,
100 N. Main St., Ste.                                     can review the above -
207; Jacksboro, Texas,                                                                                                 Jacksboro, TX 76458.
                                                          referenced lots                                              Submittals will be
76 4 5 8 , o n M o n d a y,                               a t h t t p s : // w w w .
September 12, 2022 at                                                                                                  accepted until Tuesday,
                                                          energ ynet.com/page/                                         Sept 6, 2022 at 11:00
9:05 a.m. and acted on                                    heartlandreceivership.
in the course of business                                                                                              a.m. Bid documents can
                                                          Inquiries to EnergyNet                                       be obtained by calling
by the Court on that day                                  can be directed to 1-877-
beginning at 10:00 a.m.                                                                                                (9 4 0) 5 67-72 0 3 ex t .
                                                          351- 4488 or energ y@                                        277 or on the Jacksboro
Jack County reserves the                                  energynet.com.
right to reject any or all                                                                                             IS D w e b si te, w w w.
bids.                                                     Public Notice                                                jacksboroisd.net. The
Section 2252.908,                                         Notice is hereby given                                       district reserves the right
Government Code                                           that Brock Smith, District                                   to reject any and all bids.
                                                          J u d g e f o r t h e 271 s t




           TexSCAN Week of                                                  MEDICAL
          Aug. 28-Sept. 3, 2022                          Portable Oxygen Concentrator May Be Covered by
                    ACREAGE                              Medicare! Reclaim independence and mobility with the
                                                         compact design and long-lasting battery of Inogen One.
Own your piece of Texas TODAY! Prices start-
                                                         Free information kit! Call 866-747-9983.
ing at $650/acre. Trans Pecos region. Also the
Hill Country (Edwards, Menard, Coke, Val Verde DENTAL INSURANCE from Physicians Mutual                                                    NEED A
Counties - free ranging exotics), South Texas (Duval Insurance Company. Coverage for 350 plus proce-
County - whitetail, hogs). Large acreage or small. dures. Real dental insurance - NOT just a discount
30 year fixed rate owner financing, only 5% down. plan. Do not wait! Call now! Get your FREE Dental
                                                                                                                                           JOB?
Call toll free or email for individual prices and terms. Information Kit with all the details! 1-855-901-0467
www.ranchenterprisesltd.com, 800-876-9720.
                                                         www.dental50plus.com/txpress #6258
                 ADOPTION                                                                                                                    NEED
                                                                      MERCHANDISE
California couple promises baby warm, loving home.
Secure future, educational opportunities. Generous Rada Cutlery – Fundraise, Shop or Sell. Outstanding
                                                                                                                          EMPLOYEES?
living expenses paid, relocation possible. Rob and kitchenware, exceptional value. 800-311-9691
Katrina, 714-729-3014 or attorney 310-663-3467.    RadaCutlery.com.

               REAL ESTATE                                                  WANTED
                                                                                                                              The Classifieds bring
                                                                                                                              together job seekers
6 acres w/9 rentals; 2 acres potential for RV park/ FREON WANTED: Certified buyer looking to
storage, etc.; southeast of San Antonio (87/1604), 15 buy R11, R12, and R500 and more. Call Joe at                               and potential
minutes from downtown San Antonio, $1,400,000. 312-625-5322.                                                                  employers every day.
Bennie, 210-381-1234.
                                                      Need Extra Cash – I Buy RVs & Mobile Homes
                GENERATORS                            –Travel Trailers, 5th Wheels, Goosenecks, Bumper
Prepare for power outages today with a GENERAC Pulls. In Any Area, Any Condition – Old/New, Dirty                                Jacksboro
home standby generator. $0 Money Down + Low or Clean! I PAY CA$H. No Title – No Problem, we
Monthly Payment Options. Request a FREE Quote. Call can apply for one. We go anywhere in Texas. ANR
                                                                                                                         Herald-Gazette
now before the next power outage: 1-855-704-8579. Enterprises, 956-466-7001.
                                                                                                                           CLASSIFIEDS
                Texas Press Statewide Classified Network
            221 Participating Texas Newspapers • Regional Ads                                                                Featuring new listings
                Start At $250 • Email ads@texaspress.com                                                                       every Wednesday!
NOTICE: While most advertisers are reputable, we cannot guarantee products or services advertised. We
urge readers to use caution and when in doubt, contact the Texas Attorney General at 800-621-0508 or the                        940-567-2616
Federal Trade Commission at 877-FTC-HELP. The FTC web site is www.ftc.gov/bizop.




                                                                                        To Place Your Ad:
                                                                                                       940-567-2616                                                                                        Crossword
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                                                                                    Run Your Show & Sell Ad*
                                                                                             for as Little as $14.95!


                  Show
                 & Sell
                                                                                           *Show & Sell pricing not available for real property ads (homes, mobile homes, etc.)




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                                      The Jacksboro Herald-Gazette
                                                   Classifieds
                                     make it easy to connect with local buyers
                                         and sellers - in print and online!


                                Jacksboro Herald-Gazette
                                    CLASSIFIEDS
          WWW.JACKSBORONEWSPAPERS.COM • 940.567-2616
                                                                                                                                                                          89649                       Look for answers in the Classifieds.
                             Case 4:21-cv-01310-O-BP Document 325 Filed 01/31/23                                                                           Page 9 of 9 PageID 7698
Page 6 • Jacksboro Herald-Gazette                                                         www.jacksboronewspapers.com                                                                                              Wednesday, September 7, 2022


                                                                                                                                                    Place Your Classified Ad Today

CLASSIFIEDS   www.jacksboronewspapers.com/classifieds
                                                                                                                                                        940-567-2616
                                                                                                                                                  • Up to 15 words: $10 • 50¢ per word over 15 • Minimum charge: $10
                                                          Every housing advertisement published in the Jacksboro Herald-Gazette is subject to all provisions of the Federal Fair Housing Act.
                                          EQUAL HOUSING
                                          OPPORTUNITY




 BUY • SELL                  Classified Line Ad Deadline is 9 a.m. Monday for Jacksboro Herald-Gazette                                                                                                                    TRADE • RENT
510   HELP WANTED

                                                                                                                                                                                MTC  JOHN R. LINDSEY STATE JAIL
 JACKSBORO DAIRY QUEEN
                                                                                                       NOW                                                                                  IS NOW HIRING:
         NOW HIRING                                                                                                                                                                       Correctional Oﬃcers


        TEAM MEMBERS                                                                    HIRING!                                                                                     Assistant Foodservice Manager
                                                                                                                                                                                        Assistant Maintenance
                                                                                                                                                                                        Supervisor – Lock Tech
             Paying up to $12/hour                                                                                                                                                            Testing Clerk
                 What We Offer:                                                                                                                                                           Recruiting Sergeant
                Competitive Pay                                                                                                                                                                 Chaplain
                                                                                                                                                                                          Education Counselor
           Paid Holidays and Vacation                                                                                                                                                                                                   BIONIC
                                                                                                                                                                                      • Beginning June 9, starting pay is
           Incentive Pay Potential and                                                                                                                                                $18/hour for Correctional Oﬃcers, with     A Culture of Caring
              Career Advancement                                                                                                                                                      incremental pay increases.
                                                                                                                                                                                      • 4 weeks of paid training. 6am-6pm Mon. – Fri. (instant overtime).
       Positions for Management and Team Members                                           OPEN POSITIONS:                                                                            • In addition to a comprehensive beneﬁts package, MTC oﬀers tuition
                 available in other locations.
                                                                   23532




                                                                                           Housekeeper                                                                                  reimbursement for college courses.
  Apply online: richesondq.com                                                                                                                                                             Please check the web site for job qualiﬁcations.
                                                                                        Food Service Worker                                                                 Must have HS Diploma or equivalent, be able to pass a drug screen, have a clean
                                                                                  For more info, contact Debbie White at                                                    background, and valid driver’s license to be considered for a Correctional Oﬃcer.
                                                                                  dwhite@fchtexas.com or 940-216-2341                                                        Apply online at www.mtctrains.com or call the HR dept. at 940-567-2272.
 JACKSBORO DAIRY QUEEN                                                                                                                                                                        Management & Training Corporation is an Equal Opportunity Employer:
                                                                                To apply directly, visit fchtexas.com/careers




                                                                                                                                                                                                                                                                         19529
                                                                                                                                                                                                             Minority/Female/Disability/Veteran
         NOW HIRING
        General Manager                                                                               Where professional care meets local convenience.
                                                                                                                     www.fchtexas.com
                                                                                Health
          Paying up to $48K per year,                                                    System

        plus monthly bonus incentives.                                                                                                                        23506




      –No late night or early morning shifts–
                 What We Offer:
                                                                                   Errors & Adjustments
                Competitive Pay
           Paid Holidays and Vacation                                          Customers who place advertisements in the
                                                                               Jacksboro Herald-Gazette should check them
                                                                                                                                                                                             NOW HIRING
           Incentive Pay Potential and                                                                                                                                                        Portable Field Welders
                                                                               for accuracy the first time it appears in the
              Career Advancement                                               newspaper. Any errors or omissions must be re-                                                                   Utility Field Crews
                                                                   23536




       Positions for Management and Team Members                               ported to Jacksboro Herald-Gazette at (940)                                                                         Must be willing to travel.
                 available in other locations.                                 567-2616 within 24 hours after the ad’s first
                                                                               publication. The newspaper office must limit its                                                       FULL-TIME POSITIONS
  Apply online: richesondq.com                                                 financial responsibilities, if any, to the charge                                                  PAYING TOP INDUSTRY WAGES
                                                                               for space and cannot be responsible for incor-
                                                                                                                                                                                             Offering a competitive benefits
                                                                               rect ads after the first day of publication.
  IT PAYS TO ADVERTISE • 940-567-2616                                                                                                                                                      package, including medical/dental
                                                                                                                                                                                                       and 401(k).
                                                                                                                                                                                                                                                                        23469




                                                                                                                                                                                     Apply at Crisp Industries
                                                                                                                                                                               323 Energy Way, Bridgeport, TX 76426
                                                                                                                                                                             (Located behind McDonald’s & The Community Bank)
                                                                                                                                                                             940.683.7046 • oﬃce@crispindustries.com
                                                                                                                                                                                EQUAL EMPLOYMENT OPPORTUNITY

                                                                                                                                        NEED A                           700               FOR RENT - APARTMENTS
                                                                                                                                        JOB?

                                                                                                                            EMPLOYEES?
                                                                                                                                          NEED
                                                                                                                                                                                           Bent Tree
                                                                                                                                                                                                Apartments
                                                                                                                                                                           Energy Efficient • Central Heat & Air • Off-Street Parking
                                                                                                                               The Classifieds bring                            Gas and Water Paid • Full-Equipped Laundry
                                                                                                                               together job seekers                                                 ONE & TWO BEDROOMS
                                                                                                                                  and potential                                            Rent based on Income for Qualified Applicants
                                                                                                                               employers every day.
                                                                                                                                                                                             323 N. 9th Street – Jacksboro, TX 76458
                                                                                                                                                                                               940-567-5316 – TDD 800-760-1997
                                                                                                                                 Jacksboro                                 EQUAL HOUSING
                                                                                                                                                                           OPPORTUNITY
                                                                                                                                                                                              This institution is an equal opportunity provider and employer.       9203


                                                                                                                            Herald-Gazette
                                                                                                                             CLASSIFIEDS
                                                                                                                              Featuring new listings                                       Mesquite Trails
                                                                                                                                every Wednesday!
                                                                                                                                 940-567-2616                                               Apartments
                                                                                                                                                                                            RENTAL ASSISTANCE AVAILABLE
                                                                                                                                                                                  1, 2 or 3 Bedrooms • Rent Based on Income
                                                                                                                                                                                          Laundry Room • Playground
                                                                                                                                                                                              Maintenance On-Site
                                                                                                                                                                                           119 S. 5th St. • Jacksboro, TX 76458
                                                                                                                                                                                                                                                                     11234




                                                                                                                                                                                             940-567-3304 • 940-683-2450
                                                                                                                                                                             EQUAL HOUSING
                                                                                                                                                                             OPPORTUNITY
                                                                                                                                                                                              This institution is an equal opportunity provider/employer.


                                                                                                                                                                         800               PUBLIC/LEGAL NOTICES
                                                                                                                                                                         NOTICE OF PROPOSED                                      – EnergyNet Lot # 95866
                                                                                                                                                                         PUB LIC AUCTION OF                                      Palo Pinto County –
                                                                                                                                                                         CERTAIN OIL AND GAS                                     EnergyNet Lot # 96641
                                                                                                                                                                         ASSETS                                                  Palo Pinto and Stephens
                                                                                                                                                                         Deborah D. Williamson,                                  Counties – EnergyNet Lot
                                                                                                                                                                         the Cour t-appointed                                    # 96657
                                                                                                                                                                         Receiver in TXND Case                                   Potent ial p ur c has er s
                                                                                                                                                                         N o. 4 -21c v -1310 - O -                               can review the above -
                                                                                                                                                                         BP, has received court                                  referenced lots
                                                                                                                                                                         approval for an auction of                              a t h t t p s : // w w w .
                                                                                                                                                                         certain oil and gas assets                              energ ynet.com/page/
                                                                                                                                                                         owned by the receivership                               heartlandreceivership.
                                                                                                                                                                         estates                                                 Inquiries to EnergyNet
                                                                                                                                                                         AS IS – WHERE IS through                                can be directed to 1-877-
                                                                                                                                                                         Energ yNet.com, LLC                                     351- 4488 or energ y@
                                                                                                                                                                         (“EnergyNet”).                                          energynet.com.
                                                                                                                                                                         Jack and Young Counties

                                                                                                               23384
                                                                                                                                                                             FIND US ONLINE • JACKSBORONEWSPAPERS.COM
